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                    No. 25-1113
                          IN THE UNITED STATES COURT OF APPEALS
                                  FOR THE SECOND CIRCUIT


                                          MOHSEN MAHDAWI,

                                                            Petitioner-Appellee,
                                                       v.

                                     DONALD J. TRUMP, ET AL.,

                                                            Respondents-Appellants.

                          On Appeal from the United States District Court
                                    for the District of Vermont
                                District Court Case No. 2:25-cv-389

                                    JOINT APPENDIX – VOLUME IV


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             IN THE UNITED STATES DISTRICT COURT
             FOR THE DISTRICT OF VERMONT

             MOHSEN MAHDAWI,
             Petitioner
             v.                                                                           No. 2:25-cv-00389
             DONALD J. TRUMP, et al.,
             Respondents



             April 26, 2025

             I, Daniel D. Fraser, depose and state as follows:

             I am an individual of sound mind and legal age writing this of my own free will. I submit this
             declaration based on my personal knowledge and relationship with Mohsen K. Mahdawi, my
             dear friend and roommate. I previously submitted a declaration in support of Mohsen’s character.
             To briefly restate the nature of our relationship: Mohsen and I met over nine years ago, in
             December of 2015.

             He moved into my place in White River Junction, Vermont, on January 4, 2016. We have since
             become dear friends. Mohsen is not a flight risk, and has deep ties to Vermont. If Mohsen is
             released, he would be able to live in our house in Vermont during the pendency of the litigation.

             Of course he would—it is his house as well as mine.

             Additionally, Mohsen would have a means of transportation to and from court hearings, and, if
             he is allowed to attend his outstanding classes at Columbia, to and from New York for the
             remainder of the school year. He has a car, as do I. He has frequently driven between Columbia
             University in New York and his home in Vermont.

             I declare under penalty of perjury that the foregoing statements are true and correct to the best of
             my ability.

             /s/ Daniel Fraser
             Daniel Fraser
             White River Junction, VT




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                                    EXHIBIT 5




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                                      IN THE UNITED STATES DISTRICT COURT
                                          FOR THE DISTRICT OF VERMONT



            MOHSEN MAHDAWI,
            Petitioner                                                        No. 2:25-cv-00389

            v.

            DONALD J. TRUMP, et al.,
            Respondents

                                   DECLARATION OF BECKY PENBERTHY OF
                                  BURLINGTON COMMUNITY JUSTICE CENTER

            Pursuant to 28 U.S.C. § 1746, I, Becky Penberthy, Adult Restorative Services Manager of
            Burlington Community Justice Center, declare under penalty of perjury the following:

                 1. I am Becky Penberthy, my pronouns are she/her, and I am restorative justice practitioner
                    living and working in Burlington, Vermont.
                 2. I have worked as a restorative justice practitioner for 21 years. I currently co-manage adult
                    restorative justice services for Chittenden County, including Pretrial Services. Among
                    other tasks, my work includes: providing direct services to victims of crime and those
                    responsible for crime; facilitating processes around larger community-based incidents of
                    harm not rising to the level of a crime where there is great impact; supervising a team of
                    professionals providing direct service; serving as a Member of the CJC management team;
                    regularly attending and providing input in the Criminal Division of Vermont Superior
                    Court; and regularly facilitating restorative processes with those responsible, with those
                    harmed, with community volunteers and others.
                 3. I also serve as an Adjunct Professor at Vermont Law and Graduate School, where I teach
                    a graduate-level course on applied restorative justice facilitation.
                 4. My previous experience includes working as the Court Operations Manager for the
                    Addison County Superior Court, and as the Director of Vermont Pretrial Operations at
                    Lamoille Restorative Center.
                 5. At the Burlington Community Justice Center, the Pretrial Services Program supports
                    individuals to meet their court-ordered conditions of release, ensure court appearances,
                    reduce detentions, and support public safety. Pretrial Services provides ongoing support
                    throughout the court process.
                 6. The primary components of Pretrial Services include:
                        a. Supervision – We maintain knowledge of and periodic review of court-ordered
                           conditions. We conduct administrative check-ins, held remotely on a platform like
                           Zoom or Teams, with additional check-ins by telephone. If the person is in the State
                                                              1
                                                          JA 507
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                           of Vermont, we conduct in-person visits. We also connect with community
                           supports who can confirm adherence to court-ordered conditions, such as
                           supervisors, teachers, or counselors/clinicians.
                       b. Court reminders – We make regular phone calls and/or text reminders of upcoming
                          court dates to ensure appearance.
                       c. Connection to Support – We assess the client’s need for additional supports and,
                          where appropriate, connect clients to services such as mental health counseling.
                       d. Reporting to the Court – As the Court directs, we provide regular updates to the
                          Court regarding compliance with or violations of court-ordered conditions of
                          release.
               7. On April 28, 2025, I met with Mohsen Mahdawi at Northwest State Correctional Center,
                  where he is currently detained. We discussed his plans upon release and the community
                  support he has in place.
               8. I am ready and willing to provide Pretrial Services to Mr. Mahdawi upon his release,
                  including supervision, pursuant to whatever conditions the Court may set.

            WHEREFORE, I declare under penalty of perjury under the laws of the United States of America
            that the foregoing is true and correct. Executed at Burlington, V.T. on this 28 th day of April 2025.


            Respectfully Submitted,



            Becky Penberthy
            Adult Restorative Services Manager
            Burlington Community Justice Center




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                                                         JA 508
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                                              UNITED STATES DISTRICT COURT
                                               FOR THE DISTRICT OF VERMONT

                        MOHSEN MAHDAWI,                              )      CIVIL ACTION NO.
                                       Petitioner,                   )      2:25-cv-389
                                                                     )
                                     v.                              )
                                                                     )
                        DONALD J. TRUMP, et al.,                     )
                                       Respondents.                  )


                                          MOTION FOR RELEASE UNDER MAPP V. RENO
                                                Wednesday, April 30, 2025
                                                   Burlington, Vermont

                       BEFORE:

                             THE HONORABLE GEOFFREY W. CRAWFORD,
                             District Judge

                       APPEARANCES:

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                                                   JA 509
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                    1 Wednesday, April 30, 2025

                    2         (The following was held in open court at 9:01 AM.)

                    3              COURTROOM DEPUTY:       Your Honor, the matter before the

                    4 Court is civil case number 25-CV-389, Mohsen Mahdawi v.

                    5 Donald J. Trump, et al.          Present on behalf -- or present with

                    6 the petitioner are Attorneys David Isaacson, Luna Droubi,

                    7 Matthew Melewski, Andrew Delaney, and Shezza Dallal.                   Present

                    8 for the respondents is acting United States Attorney Michael

                    9 Drescher.

                   10         We are here for a motion for release under Mapp v. Reno.

                   11              THE COURT:     All right.      Good morning.         Good to see

                   12 everybody.

                   13              MR. DRESCHER:      Good morning.

                   14              MS. DROUBI:      Good morning.

                   15              THE COURT:     I appreciate all the briefing very much.

                   16 It's been very helpful.          And I'll dive right into things in a

                   17 moment, turn things over to Mr. Mahdawi's side as the moving

                   18 party, give the government a turn after that.

                   19         One or two housekeeping things.           One is that I've received

                   20 a number of ex parte communications that I don't see -- but

                   21 they're just citizens that write.             As Mr. Drescher knows, I'm

                   22 usually quite faithful about making sure to turn these over to

                   23 both sides, and it's become a bit cumbersome.                 I'm inclined not

                   24 to do that, but I wanted to make sure that was acceptable to

                   25 both of you.       Happy to -- some of them are telephone calls and


                                                   JA 510
(14 of 95), Page 14 of 95   Case: 25-1113, 07/01/2025, DktEntry: 101.4, Page 14 of 95
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                    1 some are e-mails.         I think I got a text.        I'm not -- anyway.

                    2         Mr. Drescher, is it a problem?

                    3              MR. DRESCHER:      The short answer is no.           I think it's

                    4 well within the Court's discretion to figure out how to manage

                    5 outreach to chambers from the public, and we trust the Court's

                    6 discretion in that regard.

                    7              THE COURT:     Appreciate it.

                    8              MS. DROUBI:      Similarly, Your Honor, we trust the

                    9 judge's discretion.

                   10              THE COURT:     All right.      Thank you.     That will simplify

                   11 life a little bit.

                   12         I'm not quite sure at what point to take up the question

                   13 of Agent Emmons.        I asked that he come here, but I don't call

                   14 witnesses.       Parties do.     So why don't we take up his testimony

                   15 when one side or the other asks to speak with him.                  Okay?   But

                   16 I recognize that there's a question to deal with.

                   17              MR. DRESCHER:      Your Honor, if I may, it might make

                   18 sense to take that issue up now just to sort of, you know --

                   19 for everybody to be on the same set of expectations going

                   20 forward with regard to retired Agent Emmons' potential

                   21 testimony.       If I --

                   22              THE COURT:     I don't feel strongly about it.

                   23         Ms. Droubi?

                   24              MS. DROUBI:      It's our position that we think we should

                   25 be able to present our motion, and at the point if we believe


                                                   JA 511
(15 of 95), Page 15 of 95   Case: 25-1113, 07/01/2025, DktEntry: 101.4, Page 15 of 95
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                    1 and the Court believes it's necessary to bring Agent Emmons'

                    2 testimony into this, then -- then we should address it at that

                    3 time.     That would be our position, Your Honor.

                    4              THE COURT:     Let's do it with context.             In other words,

                    5 when it actually kind of arises, then we'll take it up.

                    6              MR. DRESCHER:      Very well.

                    7              THE COURT:     Okay.    All right.      I'll turn things over

                    8 to the petitioner.

                    9              MS. DROUBI:      And we turn to our colleague, Matthew

                   10 Melewski, Your Honor.

                   11              MR. MALEWSKI:      May I approach, Your Honor?

                   12              THE COURT:     Yes, please.      Thank you.      Where did you

                   13 come in from?

                   14              MR. MALEWSKI:      New York City, but I'm on the other

                   15 side of the lake in Westport.

                   16         Your Honor, we're here today because Mr. Mahdawi is being

                   17 unlawfully detained for his advocacy in support of human rights

                   18 and our motion to cure this unconstitutional violation by

                   19 releasing him.

                   20         It's no revelation to say that the U.S. government has

                   21 sometimes struggled with the First Amendment.                 Right off the

                   22 bat, The Alien and Sedition Acts of 1798; 1918, Immigration and

                   23 Sedition Acts lead to the Palmer Raids, the expulsion of

                   24 Russian Jews.        '40s and '50s, you have the Red Scare.             In each

                   25 of these cases, relatively shortly thereafter the legal and


                                                   JA 512
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                    1 political systems recognize the damage and overreach by these

                    2 actions and swing back in the other direction to correct them,

                    3 to repeal, abrogation, and regret.

                    4         Unfortunately, it seems that we're doing the same thing

                    5 today as the administration has begun rounding up and detaining

                    6 lawful residents of this country for speech that's

                    7 unequivocally protected by the First Amendment to the

                    8 Constitution.

                    9         Mr. Mahdawi has been imprisoned solely for speech that is

                   10 lawful, lawful protected speech, detained in direct violation

                   11 of his First Amendment rights.            At the very moment Mr. Mahdawi

                   12 thought that he was going to realize his years-long effort to

                   13 become a citizen of this country, literally at the moment that

                   14 he had taken his final interview and was about -- you know, at

                   15 the point of being approved, armed men, their faces masked,

                   16 handcuffed him, forced him into a car, and began to drive him

                   17 away.     Were it not for the quick intervention of this court,

                   18 Mr. Mahdawi would be over a thousand miles away from his home,

                   19 from his lawyers, from his community.

                   20         The impact of this unlawful action on Mr. Mahdawi and on

                   21 the millions and millions of lawful residents, students, and

                   22 visa holders in this country is hard to overstate.                Their

                   23 speech is chilled.         But chilled isn't -- doesn't quite cover

                   24 it.     They're afraid.       They're afraid to exercise their core

                   25 constitutional rights, to write an op-ed, to criticize the


                                                   JA 513
(17 of 95), Page 17 of 95   Case: 25-1113, 07/01/2025, DktEntry: 101.4, Page 17 of 95
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                    1 government, to attend an immigration appointment for fear that

                    2 the masked men might one day come for them too.                   And I realize

                    3 how profound and dangerous that sounds, but the government

                    4 doesn't deny it.        In fact, the government concedes it.

                    5         The government announced in advance that they were going

                    6 to do this, and they've had an opportunity to respond to

                    7 Mr. Mahdawi's claims before this hearing.                In response to

                    8 Mr. Mahdawi's claim that he is being imprisoned and retaliated

                    9 against solely for his protected speech, the government says

                   10 nothing.      There is no claim here that Mr. Mahdawi is being

                   11 imprisoned because of unlawful actions or some other

                   12 constitutionally sound basis.            The only claim at issue here is

                   13 that Mr. Mahdawi is being imprisoned, detained, because of his

                   14 lawful speech.        The government just claims they're allowed to

                   15 do it.      We're asking this court to release Mr. Mahdawi pending

                   16 his habeas corpus petition, after which the government can

                   17 determine the constitutional violation at issue with the

                   18 government's actions.

                   19         The most cited case in this circuit for release pending a

                   20 habeas petition is Mapp v. Reno, and in Mapp the court said

                   21 before granting release a court needs to evaluate two things:

                   22 Whether or not there are "substantial claims" in that case and

                   23 whether or not there are "extraordinary circumstances."                  We

                   24 meet both here.

                   25         There can be no doubt that Mr. Mahdawi's claims in this


                                                   JA 514
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                    1 case are substantial claims.            Mr. Mahdawi claims that he is

                    2 being detained solely for the content of his speech, which is

                    3 afforded the highest protection under the First Amendment to

                    4 the Constitution.         That is a clear deprivation of his

                    5 constitutional rights.          It is not denied by the government.

                    6 That must be a substantial claim.             Indeed, the scale of this,

                    7 the scale of this deprivation, is almost unheard of.

                    8         As Your Honor might divine from our pleadings, courts have

                    9 talked about extraordinary circumstances in a couple of

                   10 different ways:        One, courts have said that it's a heightened

                   11 standard when the petitioner at issue was convicted and

                   12 sentenced and their liberty interest is relatively low.               This

                   13 case presents almost the opposite scenario.                In this case the

                   14 Constitution guarantees Mr. Mahdawi's liberty.

                   15         The other way courts have looked at extraordinary

                   16 circumstances is in what Mapp calls "unusual cases."               And this

                   17 case is so unusual that aside from the parallel proceedings in

                   18 very similar circumstances, over a hundred immigration law

                   19 professors submitted a brief explaining that they can find no

                   20 example of the government ever using this particular provision

                   21 to detain someone for lawful speech.

                   22         The third way the courts have talked about extraordinary

                   23 circumstances is circumstances such that release is necessary

                   24 to give effect to the relief sought in the habeas, to make the

                   25 remedy effective, and here the relief sought through habeas is


                                                   JA 515
(19 of 95), Page 19 of 95   Case: 25-1113, 07/01/2025, DktEntry: 101.4, Page 19 of 95
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                    1 to prevent the government, to stop the government, from

                    2 detaining Mr. Mahdawi and violating his First Amendment rights

                    3 by detaining him.

                    4         The only way to give that relief is through release, and

                    5 release through this petition, because Mr. Mahdawi cannot bring

                    6 a constitutional challenge to his detention before the

                    7 immigration judge and the Board of Immigration Appeals.

                    8         If he's forced to remain in custody during the course of

                    9 the removal proceeding, that would deprive Mr. Mahdawi of the

                   10 relief that is sought in his habeas petition.                 The damage will

                   11 have already been done.

                   12         In a pending habeas case in this district for Ms. Ozturk,

                   13 the government has already appealed, which heightens the need

                   14 to release Mr. Mahdawi, so that he is not forced to suffer the

                   15 consequences, the constitutional injury, during the indefinite

                   16 length of time that it will take to resolve those appeals -- or

                   17 appeals in this case.

                   18         Mr. Mahdawi is a beloved member of his community.                He has

                   19 a home in Vermont.         He's an Ivy League student.            He still hopes

                   20 to graduate next month.          If he's not released, he won't be able

                   21 to graduate and he won't be able to matriculate to the graduate

                   22 program to which he's already been admitted.

                   23         If the government wants to prevent Mr. Mahdawi from being

                   24 released by claiming that he is a danger to the community that

                   25 adores him or is a flight risk, they need to do so with clear


                                                   JA 516
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                    1 and convincing evidence as a matter of due process.               Here the

                    2 government has not provided enough information to survive the

                    3 lowest hurdle, the smallest bar.             The only thing the government

                    4 has introduced is some cartoonishly racist hearsay from ten

                    5 years ago that amounted to nothing and some other times that

                    6 somebody wrote down that he was not charged with a crime.              The

                    7 government has still not provided any recognizable reason why

                    8 Mr. Mahdawi needs to remain in custody.

                    9         Last week Your Honor mused, "They wouldn't have taken such

                   10 drastic measures to send a cavalcade of SUVs and a posse of

                   11 agents unless they had something in mind, and I don't know what

                   12 that was."       The government has now had an opportunity to say

                   13 what that was, and the answer, apparently, is that the

                   14 government believes it is allowed to incarcerate Mr. Mahdawi

                   15 and intimidate anyone similarly situated for the content of

                   16 speech that the government doesn't like.               Mark Twain once said

                   17 that "history doesn't repeat itself, but it often rhymes."              The

                   18 question here is just when the pendulum begins to swing back in

                   19 the other direction, when we reaffirm the primacy of the First

                   20 Amendment and begin to repair the trust that the Constitution

                   21 means what it says.

                   22         I propose we start here today by releasing Mohsen Mahdawi.

                   23         Thank you, Your Honor.

                   24              THE COURT:     Quick question.       Frequently in the bail

                   25 context, we get into details of dangerousness or risk of


                                                   JA 517
(21 of 95), Page 21 of 95   Case: 25-1113, 07/01/2025, DktEntry: 101.4, Page 21 of 95
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                    1 flight.      Did you propose to -- to leave the broad principles

                    2 and deal with these questions, or are you content with what

                    3 you've said?

                    4              MR. MALEWSKI:      We're certainly happy to discuss

                    5 conditions of his release.           We think that reasonable conditions

                    6 is something that this court is entitled to engage in, and

                    7 we're prepared to discuss that today.

                    8              THE COURT:     And when would you like to talk -- in

                    9 other words, what would you like to do next?                 Would you like to

                   10 turn things over to the government, or did you have witnesses,

                   11 or where shall we go from your perspective?

                   12              MR. MALEWSKI:      I think if Your Honor wants to hear

                   13 from the government on our motion, that's fine.                   We're happy to

                   14 talk about conditions that we believe would be reasonable in

                   15 the circumstance for release.

                   16              THE COURT:     All right.      Why don't I give the

                   17 government a turn and then give you an opportunity.

                   18              MR. MALEWSKI:      Thank you, Your Honor.

                   19              THE COURT:     All right.

                   20              MR. DRESCHER:      Good morning.

                   21              THE COURT:     Good morning.

                   22              MR. DRESCHER:      At the outset, as we discussed last

                   23 week, there are some threshold jurisdictional questions that

                   24 the Court has to confront before deciding whether it has any

                   25 authority to consider a motion under Mapp v. Reno.                  I


                                                   JA 518
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                    1 appreciate the Court has set this -- noticed this as a hearing

                    2 under Mapp v. Reno.         Your Honor has our briefings with regard

                    3 to those threshold jurisdictional questions.                 I don't want for

                    4 a moment to be seen as giving up on those.

                    5         We don't think the Court should be exercising habeas

                    6 jurisdiction for the reasons we've explained in our prehearing

                    7 submission, which has been converted to a motion to dismiss,

                    8 and I'd be happy to answer any questions the Court may have on

                    9 that before I get into sort of the -- some of the details of

                   10 the Court's consideration under Mapp.               I just want to put a pin

                   11 in our threshold position that I don't think the Court can

                   12 consider release until it's asserting habeas jurisdiction,

                   13 which is a complicated question.

                   14         The -- Judge Sessions concluded that -- in the Ozturk case

                   15 that this court has jurisdiction there.               At the moment there's

                   16 an administrative stay that was handed down by the Second

                   17 Circuit.      Not -- you know, not weighing in on the relative

                   18 merits, but it's been stayed for the Circuit to have a chance

                   19 to consider the government's appeal to the Circuit of Judge

                   20 Sessions' order there.          They're very serious, weighty

                   21 questions.

                   22         I appreciate that petitioner's counsel shared with the

                   23 Court last night a recent decision in the Khalil matter that

                   24 grapples with the same issue, again, finding jurisdiction.                I

                   25 just want to flag for the Court that we're not giving up on any


                                                   JA 519
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                    1 of those arguments.         They've been submitted in writing.          I'm

                    2 happy to take up any questions the Court may have on those now,

                    3 and if the Court has no questions, then I can get into some of

                    4 our thoughts as to the merits of the Mapp motion.

                    5              THE COURT:     Fair enough.      I saw it somewhat similarly

                    6 in the sense that I've been at work over -- over the weekend

                    7 with your materials as well and have sought to address the

                    8 jurisdictional issues, but in a preliminary way.                  In other

                    9 words, I wouldn't want -- if there were no colorable claim of

                   10 jurisdiction, that would be foolish to dive into questions of

                   11 release, but I think, as you say, the ultimate resolution, at

                   12 least in this court, has got to wait for the briefing schedule

                   13 to wrap up, which is a couple of weeks away.

                   14         So you've raised it in your papers.            I've prepared a

                   15 draft, which -- to be revised after whatever happens at this

                   16 hearing.      I've dealt with it, but not in a kind of final way,

                   17 just to assure myself that there's a path forward for

                   18 jurisdiction.

                   19              MR. DRESCHER:      Understood.      I just want to be clear

                   20 that --

                   21              THE COURT:     Thank you.

                   22              MR. DRESCHER:      -- our position is, without a finding

                   23 of jurisdiction --

                   24              THE COURT:     Right.

                   25              MR. DRESCHER:      -- relief under Mapp should not be


                                                   JA 520
(24 of 95), Page 24 of 95   Case: 25-1113, 07/01/2025, DktEntry: 101.4, Page 24 of 95
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                    1 available.

                    2              THE COURT:     Fair enough.

                    3              MR. DRESCHER:      I guess at this point I want to sort of

                    4 talk about how to treat retired FBI Agent Marc Emmons, who is

                    5 here in court today.

                    6              THE COURT:     Sure.

                    7              MR. DRESCHER:      We received the Court's order yesterday

                    8 afternoon.       We have -- obviously we completely wish to abide by

                    9 the Court's order.         I understood the Court -- Court's order to

                   10 reflect the Court's desire to hear from Agent Emmons.                 I would

                   11 like to try to persuade the Court that that's not necessary for

                   12 a couple of reasons.          At the outset, what -- at the outset,

                   13 Agent Emmons has reviewed -- and he's in court today.

                   14              THE COURT:     Yes.    Sure.

                   15              MR. DRESCHER:      So he's in the courtroom.         I just want

                   16 to make sure everybody's aware of that.               He's reviewed

                   17 Mr. Mahdawi's declaration that was filed yesterday and he's

                   18 reviewed what Mr. Mahdawi said about their interview, and there

                   19 is not a substantial disagreement with Mr. Mahdawi's recitation

                   20 of -- of his interactions with him, Agent Emmons' interaction

                   21 with him.      He takes a little bit of issue with -- I think

                   22 Mr. Mahdawi uses the word -- describes Agent Emmons as telling

                   23 him he had been "cleared."           Agent Emmons might take a little

                   24 bit of issue with the use of that word but does not dispute

                   25 that in some manner he explained to Mr. Mahdawi that the file


                                                   JA 521
(25 of 95), Page 25 of 95   Case: 25-1113, 07/01/2025, DktEntry: 101.4, Page 25 of 95
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                    1 was being closed and that it was not an unreasonable inference

                    2 for Mr. Mahdawi to conclude that he had been cleared in some

                    3 sense.

                    4         But I want to emphasize to the Court that what Mr. -- or

                    5 what Agent Emmons was doing back in 2015-2016 was he was

                    6 engaging in a national security investigation.                    It would be, I

                    7 think, inappropriate for Mr. -- for Agent Emmons to be called

                    8 to testify today about the innards of that investigation.                   It

                    9 includes -- you know, investigations like that include

                   10 sensitive sources of information that the government has a

                   11 privilege not to disclose.           Information that's generated during

                   12 the course of those investigations might reveal sources of

                   13 information.

                   14         Assuming the Court's interest in hearing from Agent Emmons

                   15 was triggered by Mr. Mahdawi's declaration and given the

                   16 absence of a disagreement with regard to -- material

                   17 disagreement with regard to Mr. Mahdawi's description of that

                   18 interview, I don't think it's necessary for Agent Emmons to

                   19 testify.

                   20         I do want to --

                   21              THE COURT:     Maybe I could ask you it this way.

                   22              MR. DRESCHER:      Yeah.

                   23              THE COURT:     I asked -- the police report that the

                   24 government submitted was shocking.

                   25              MR. DRESCHER:      Yeah.


                                                   JA 522
(26 of 95), Page 26 of 95   Case: 25-1113, 07/01/2025, DktEntry: 101.4, Page 26 of 95
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                    1              THE COURT:     And -- and, if true, deeply concerning.              I

                    2 was shocked, but then when I thought about it, it seemed to me

                    3 that something else must have happened other than simply filing

                    4 this shocking statement away, and, of course, it did.

                    5 Mr. Mahdawi's attorneys brought forward that the FBI had, as

                    6 they should, looked into it, and I think what you're telling me

                    7 is that I can fairly conclude that they found the statements

                    8 from the gunsmith and from his retired friend to be unfounded.

                    9 Is that fair?

                   10              MR. DRESCHER:      No.    No.   And I don't want to leave the

                   11 Court with that misimpression.            The fact that the investigation

                   12 was closed should lead to no inference, contrary to arguments

                   13 in counsel's submission yesterday, that there was not

                   14 derogatory information found about Mr. Mahdawi.                   In fact, the

                   15 investigation turned up information that was corroborative of

                   16 the statements recounted in the Windsor police report.                  If --

                   17              THE COURT:     I'm sorry.       I want to make sure I

                   18 understand what you're saying.            Which I think what you're

                   19 saying is that Mr. Mahdawi in fact visited the store?

                   20              MR. DRESCHER:      No.    That -- the shocking parts of the

                   21 police report, the statements attributed to Mr. Mahdawi is what

                   22 I perceive the Court is referring to --

                   23              THE COURT:     Yeah.

                   24              MR. DRESCHER:      -- the investigation turned up

                   25 information that was consistent with Mr. Mahdawi making those


                                                   JA 523
(27 of 95), Page 27 of 95   Case: 25-1113, 07/01/2025, DktEntry: 101.4, Page 27 of 95
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                    1 statements.       Now, the source of that information is not subject

                    2 to disclosure.        If the Court wants to get into that

                    3 information, in open court today I think is not the right forum

                    4 to do that.       I would need to consult with the National Security

                    5 Division to figure out how to go about doing that.                We could

                    6 perhaps figure out a way to deliver some information to

                    7 chambers on an ex parte basis.            But a national security

                    8 investigation touches on a lot of sensitive variables that do

                    9 not get revealed in open court.

                   10         The argument that counsel made leading to the inference

                   11 Your Honor just articulated is -- it's inaccurate.                There was

                   12 additional derogatory information about Mr. Mahdawi.                   It's not

                   13 derogatory to go into a gun store.              It's not derogatory to

                   14 speak with other members of the community.                And so I don't want

                   15 to leave the Court with the wrong impression.                 Now, I

                   16 appreciate this is -- it was a national security investigation,

                   17 they are inherently nonpublic, and we're in court ten years

                   18 later today in a very public setting, and so I need to be

                   19 careful with regard to how I talk about what the state of

                   20 knowledge was in 2015-2016.

                   21         The fact that the file was closed does not mean there was

                   22 no additional derogatory information noted.                It means, for

                   23 example, there might not be proof of a crime that could be

                   24 prosecuted beyond a reasonable doubt; or if there was evidence

                   25 of wrongdoing, that it wasn't in the form of admissible


                                                   JA 524
(28 of 95), Page 28 of 95   Case: 25-1113, 07/01/2025, DktEntry: 101.4, Page 28 of 95
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                    1 information; or in assessing the relative priorities of the FBI

                    2 and its resources, the decision was made to move on.

                    3         We did not intend to get into the fact that there was a

                    4 national security investigation.

                    5              THE COURT:     But you started it.

                    6              MR. DRESCHER:      No, I don't think we did.         We submitted

                    7 the police report from Windsor, Vermont --

                    8              THE COURT:     Right.

                    9              MR. DRESCHER:      -- that contained information.        It was

                   10 not a federal report.          It contained information that we think

                   11 is relevant to the Court's assessment of Mr. Mahdawi's -- of

                   12 whether Mr. Mahdawi presents a risk to the community, just like

                   13 we do in -- when we're before the Court in criminal cases.                The

                   14 Court needs to consider in a criminal case a defendant, here

                   15 the petitioner's history and characteristics in assessing

                   16 whether he's suitable for release on conditions, and that

                   17 history and characteristics include the information that was

                   18 contained in the police report.

                   19         We presented that to the Court without referencing the

                   20 fact that there was a national security investigation that was

                   21 going on.      In their response yesterday, Mr. Mahdawi and counsel

                   22 recounted that he had in fact been interviewed by the FBI, and

                   23 then they went on to further argue that the fact that the FBI

                   24 conveyed to Mr. Mahdawi that they were closing their file

                   25 should be taken as evidence that there was not more


                                                   JA 525
(29 of 95), Page 29 of 95   Case: 25-1113, 07/01/2025, DktEntry: 101.4, Page 29 of 95
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                    1 information -- or that we discredited the information that was

                    2 in the police report.          And I think that's an important

                    3 distinction to make.

                    4         Now, to honor the Court's order, you know, Mr. -- or Agent

                    5 Emmons is here, but I don't think it's appropriate to call him

                    6 as a witness.        If the Court wants to do a deeper dive into the

                    7 state of knowledge back in 2015-2016, I would ask an

                    8 opportunity to brief that and to explore whether that

                    9 information can be presented to chambers on an ex parte basis

                   10 if the Court wants to do a deep dive into the state of

                   11 knowledge back then.          So --

                   12              THE COURT:     All I want to know is very simple, is

                   13 whether these two gunsmith people made this story up or whether

                   14 it is true.       That's all I want to know.          And it sounds to me as

                   15 if the FBI concluded that they were not concerned enough about

                   16 these statements to proceed in some other way.                    As you say,

                   17 they closed their file.          If that's all it is, that's fine.              I

                   18 have no intention of diving into their investigation.                   These

                   19 are shocking assertions.           Looks as if on the face of things

                   20 they weren't substantiated and there's some kind of fantasy or

                   21 malicious conduct by the informants, but I needed some kind of

                   22 clarification from you on that.

                   23              MR. DRESCHER:      Yes.    So I appreciate counsel's

                   24 characterization of them as -- I believe his term was

                   25 "cartoonish hearsay."          They are statements made by two members


                                                   JA 526
(30 of 95), Page 30 of 95   Case: 25-1113, 07/01/2025, DktEntry: 101.4, Page 30 of 95
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                    1 of the Windsor community.           The FBI investigated whether -- they

                    2 conducted an investigation for national security purposes.

                    3 They interviewed Mr. Mahdawi.            They explained to Mr. Mahdawi

                    4 that they were closing their file.              All of that is right.     I do

                    5 not want to -- the Court to perceive, because it would be

                    6 inaccurate, that that investigation did not develop information

                    7 that was -- I don't want to -- I'll take out the negatives.

                    8 The investigation turned up information that corroborated those

                    9 statements.

                   10              THE COURT:     But that information's not part of the

                   11 record here and won't be, correct?

                   12              MR. DRESCHER:      Unless the Court wants to do a deeper

                   13 dive into the state of information in 2015-2016.                  I wanted to

                   14 address the argument made from counsel that the Court should

                   15 infer there was nothing else, and just as an empirical matter,

                   16 that's not right.         I appreciate the awkwardness of proffering

                   17 this to the Court in this capacity, but that is our response to

                   18 them taking issue -- petitioner taking issue with our use of

                   19 the police report in our filing.             We completely put -- I

                   20 concede -- obviously we supplied the Court with that police

                   21 report.      We did not intend to get into the innards of a

                   22 national security investigation until the response came in

                   23 yesterday.

                   24              THE COURT:     All right.      Why don't I ask for the

                   25 petitioner's response.


                                                   JA 527
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                    1              MS. DROUBI:      Your Honor, respondents opened the door

                    2 to this issue, as you note, by raising a ten-year-old

                    3 unsubstantiated, anonymous, redacted, unsigned, hearsay written

                    4 document in their filing.           In response, we submitted a

                    5 declaration that Mr. Mahdawi provided under penalty of perjury,

                    6 which the government has just represented to this court was for

                    7 the most part accurate.          The matter was closed.           The

                    8 investigation was closed.           It never rose to the level of

                    9 anything further, meaning that they took Mr. Mahdawi's

                   10 declaration to heart.

                   11         Calling the issue a national security matter has no basis

                   12 in reality and is a transparent attempt by the government to

                   13 deflect, to delay, and to avoid the truth that the document the

                   14 government attempts to have this court rely upon has no merit.

                   15 We also believe that Mr. Emmons can be put on the stand, and if

                   16 it treads closely to any national security issue, he can so

                   17 state.      We believe that we can comfortably stay within the

                   18 confines of the respondents' submission, which would be the

                   19 only appropriate path forward if the government continues to

                   20 ask this court to rely on this document.

                   21         Further delay on this through briefing would only further

                   22 delay the unconstitutional detention of our client.

                   23 Mr. Mahdawi should not suffer for the failures of the

                   24 government in this submission and should not be subjected to

                   25 continued incarceration due to his lawful speech.                  That's our


                                                   JA 528
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                    1 position, Your Honor.

                    2              THE COURT:     All right.      So do you intend to call Agent

                    3 Emmons, or are you content with joining the government in

                    4 agreeing that the matter was closed after Mr. Mahdawi was

                    5 interviewed?

                    6              MS. DROUBI:      Well, I guess since the government has

                    7 represented to the Court that the matter was closed --

                    8              THE COURT:     Right.

                    9              MS. DROUBI:      -- if the government -- if the Court is

                   10 content with that representation as well, together with our

                   11 client's declaration that under penalty of perjury he never

                   12 made such statements, that such statements were not made, that

                   13 he felt that he was being targeted, stereotyped as a

                   14 Palestinian man who identified that he was a Palestinian man to

                   15 this individual, who we have not had the opportunity to cross

                   16 and to challenge, we think it's sufficient that the government

                   17 concedes that the matter and the investigation was closed, it

                   18 was never escalated any further than whatever questioning there

                   19 was, it was quickly put to bed, and the matter was resolved.

                   20         So we're content with that representation, and -- as long

                   21 as the Court is content as well that our client has declared

                   22 under penalty of perjury that none of these statements were

                   23 ever made and that the matter was resolved and closed.

                   24              THE COURT:     All right.      I think the three of us are

                   25 all in agreement that the record and the facts are that the --


                                                   JA 529
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                    1 a citizen plus his friend came forward with shocking

                    2 allegations of purchase of firearms and the FBI looked into the

                    3 matter, spoke with Mr. Mahdawi, and closed its file.              Both

                    4 sides agree.       I think that is sufficient for me to discount the

                    5 police report, which is the only thing in front of the Court,

                    6 as not strong evidence of dangerousness.               So I'm content to

                    7 leave it there.

                    8              MR. DRESCHER:      I appreciate Your Honor's assessment of

                    9 the police report.         To the extent you are observing that we

                   10 agree with Your Honor's assessment of the police report, we

                   11 don't, but I appreciate Your Honor has reached its conclusion

                   12 about what weight to give the report.

                   13              THE COURT:     Okay.    All right.      So I'll thank retired

                   14 Agent Emmons for attending.            He's welcome to stay, but there's

                   15 no requirement.        He won't be called by either side.

                   16              MR. DRESCHER:      The -- I'll circle back to history and

                   17 characteristics, but I want to take up the question of whether

                   18 a substantial issue has been presented such that the Court

                   19 should lean in and consider granting relief under Mapp.

                   20         As we explained in our filings, Mr. Mahdawi is in removal

                   21 proceedings because the Secretary of State -- exercising the

                   22 authority that Congress has given the Executive Branch, not

                   23 just the current administration but any administration in

                   24 power, the Secretary of State made specific findings that

                   25 Mr. Mahdawi's presence in the United States was contrary to the


                                                   JA 530
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                    1 foreign policy of the United States, and he further found, as

                    2 required by Congress, that Mr. Mahdawi's continued presence

                    3 would be -- would compromise important foreign policy

                    4 interests.       I don't think there's any factual dispute that the

                    5 exhibit to our filing from earlier this week establishes that

                    6 the Secretary of State has made those determinations.

                    7              THE COURT:     Right.

                    8              MR. DRESCHER:      Those determinations are entitled to a

                    9 presumption of regularity, and that presumption can only be

                   10 overcome by extraordinary circumstance- -- by an extraordinary

                   11 showing.      The showing, as I understand it, is simply

                   12 reiterating the basis for the Secretary's determination, and

                   13 the basis, as the Secretary's memorandum makes clear, includes

                   14 Mr. Mahdawi's participation in protests at Columbia University.

                   15         Congress has given the Executive Branch in the context of

                   16 administering the immigration laws the role of assessing where

                   17 the foreign policy interests of the United States -- when those

                   18 interests bump into otherwise protected First Amendment

                   19 activity, it is, by Congress' policy choice, the Executive

                   20 Branch's assessment as to what should give.                To implement the

                   21 foreign policy of this administration, the Secretary of State

                   22 made the necessary determinations, made the necessary findings,

                   23 and as a result, any decision by Your Honor or by any court to

                   24 release Mr. Mahdawi in these circumstances would require the

                   25 Court to get involved in and assess the foreign policy


                                                   JA 531
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                    1 determinations of the Secretary of State.                The Supreme --

                    2              THE COURT:     Can I interrupt?

                    3              MR. DRESCHER:      Sure.

                    4              THE COURT:     That's the connection I don't make.            I

                    5 recognize that the removal proceeding is kind of the third rail

                    6 here and that I have nothing to do with it, that Congress has

                    7 made that clear in the four jurisdiction-stripping provisions.

                    8 But the issue for me is whether that removes any habeas-based

                    9 scrutiny of the government's actions, and the Supreme Court

                   10 decisions authored by Justice Scalia and Justice Alito, hardly

                   11 shrinking violets when it comes to the enforcement of the

                   12 immigration laws, applied very thoughtful, careful textual

                   13 analysis to these provisions, and they don't say what I think

                   14 at the heart you say, which is once the government announces

                   15 that this is removal under the foreign policy provision, no

                   16 other judge can ever look at it.

                   17         So I'm focused not on the removal proceeding.                That's not

                   18 for me.      I'm focused on the arrest and detention, and that

                   19 seems to fall outside of these jurisdiction provisions.

                   20              MR. DRESCHER:      So the government disagrees.

                   21              THE COURT:     Right.

                   22              MR. DRESCHER:      That Title 8, Section 1226(a), gives

                   23 the government statutory authority to take into custody

                   24 somebody who is subject to removal proceedings.                   It is legal

                   25 under the statute to detain somebody who is subject to removal.


                                                   JA 532
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                    1 It's my understanding that people in that circumstance have the

                    2 opportunity to ask an immigration judge for release, and

                    3 sometimes the immigration judge will grant a bond and sometimes

                    4 the immigration judge does not, but Congress has set up that

                    5 system that authorizes the executive to detain somebody who's

                    6 subject to removal.

                    7         And I appreciate what Your Honor just articulated.            It

                    8 circles back to our jurisdictional arguments.

                    9              THE COURT:     Right.

                   10              MR. DRESCHER:      Assuming Your Honor has navigated

                   11 around those jurisdictional arguments and is going to lean in

                   12 and assert habeas jurisdiction, as the Court has suggested, the

                   13 question of Mapp relief is different.               I think the Court has to

                   14 assess the underlying reason why somebody such as Mr. Mahdawi

                   15 is in a removal proceeding and the associated detention that

                   16 has arisen from the commencement of those removal proceedings,

                   17 and in this case that is a specific finding of the Secretary of

                   18 State that Mr. Mahdawi's presence is contrary to the foreign

                   19 policy of the United States.

                   20         Justice Scalia in AADC observed that, in his words, you

                   21 know, courts are "utterly unable to assess" the adequacy of the

                   22 government's foreign policy in its application to the

                   23 immigration proceedings.           In AADC, the decisions to seek

                   24 removal of the noncitizens in that case, the government

                   25 conceded, was based upon First Amendment protected activity of


                                                   JA 533
(37 of 95), Page 37 of 95   Case: 25-1113, 07/01/2025, DktEntry: 101.4, Page 37 of 95
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                    1 those aliens, and the court recognized, Justice Scalia

                    2 recognized, that in implementing and executing the foreign

                    3 policy of the United States, the Executive Branch will favor

                    4 some countries and disfavor others; it will antagonize some

                    5 countries by disfavoring their nationals.                There's -- it's a --

                    6 to put it mildly, a complicated political business that is

                    7 vested in the political branches.

                    8              THE COURT:     But let me push back a little.

                    9              MR. DRESCHER:      Yeah.

                   10              THE COURT:     That was his merits discussion.         Where did

                   11 he come down on whether his court, also subject to the

                   12 stripping provisions, had jurisdiction even to consider the

                   13 questions?

                   14              MR. DRESCHER:      Construing a predecessor of the current

                   15 1252, which has since been amended to specifically carve out

                   16 habeas jurisdiction.

                   17              THE COURT:     To reach it, yes.

                   18              MR. DRESCHER:      To reach it.

                   19              THE COURT:     Yes.    I can give you a clue.        He found

                   20 that the Supreme Court had jurisdiction to consider the

                   21 question.

                   22              MR. DRESCHER:      Well, it had jurisdiction to

                   23 consider -- it had jurisdiction to consider a constitutional

                   24 challenge based upon selective enforcement, which was what the

                   25 argument was in front of the Court.


                                                   JA 534
(38 of 95), Page 38 of 95   Case: 25-1113, 07/01/2025, DktEntry: 101.4, Page 38 of 95
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                    1              THE COURT:     Right.

                    2              MR. DRESCHER:      The court -- the majority opinion said

                    3 there was not -- it would not recognize the underlying merits

                    4 of that argument.         In a predecessor, more jurisdictionally

                    5 generous version of the statute, the court navigated its way

                    6 around that.       The statute has since been revised.            I think for

                    7 our purposes today, the most relevant part of AADC in that

                    8 decision is the court's recognition of the -- of the role of

                    9 courts relative to the political branches in their

                   10 implementation of foreign policy.

                   11         Similarly, in the Harisiades case that we cite in our

                   12 papers, the Supreme Court -- the threshold question in that

                   13 case was whether it was constitutional for the Executive Branch

                   14 to deport people who had been here years and years who were

                   15 characterized by -- as legally resident aliens because they had

                   16 at one time been a member of the Communist party.

                   17              THE COURT:     This is the 1952 McCarthy era case?

                   18              MR. DRESCHER:      The 1952 case.

                   19              THE COURT:     Perhaps not our proudest period.

                   20              MR. DRESCHER:      The -- this is -- I take Your Honor's

                   21 point.

                   22              THE COURT:     I know you do.

                   23              MR. DRESCHER:      I completely take Your Honor's point,

                   24 but Your Honor's point, I think, highlights the fact that we

                   25 are in policy world, and as the court recognized I believe in


                                                   JA 535
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                    1 that very case, the Court might disagree with the policies that

                    2 are being implemented by the Executive Branch.                    The

                    3 overwhelming majority of the people in this room might disagree

                    4 with the policies being pursued by the Executive Branch.                     But

                    5 that does not justify the Court getting involved in -- in

                    6 injecting itself in decisions that are so related to the

                    7 implementation of the foreign policy of the United States.

                    8         I think that's really the nub of this case:                 What role

                    9 does the Court have, if any, to discount the Secretary of

                   10 State's determination that the petitioner, Mr. Mahdawi's

                   11 presence in the country is contrary to foreign policy?                   A

                   12 decision to release Mr. Mahdawi at this time would -- or at any

                   13 time in this case would necessarily require the Court to assess

                   14 the relative merits of those policy decisions.

                   15              THE COURT:     I'm working as hard as I can to follow.

                   16 All we're talking about is bail, so why does that temporary

                   17 release so that you and I and the petitioner's counsel can sort

                   18 out what are difficult issues, why is that a violation of the

                   19 political doctrine?         All they're asking is that Mr. Mahdawi go

                   20 home for the weeks or months it takes for us to get to the

                   21 bottom of what I recognize are difficult questions.

                   22              MR. DRESCHER:      And I appreciate Your Honor's question.

                   23 The Secretary's determination that a person's presence in the

                   24 United States is contrary to foreign policy justifies, under

                   25 the statutes passed by Congress, the executive's decision to


                                                   JA 536
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                    1 detain that person once he's in removal proceedings.              That's

                    2 where we are now.         If Your Honor is assessing the -- because

                    3 that detention is facially lawful and because the Secretary's

                    4 determination is entitled to a presumption of regularity, a

                    5 decision to undo the discretionary decision to detain somebody

                    6 in Mr. Mahdawi's circumstances necessarily requires a

                    7 discounting of the Secretary's determination that his presence

                    8 in the country is contrary to foreign policy.

                    9              THE COURT:     Okay.    Fair enough.

                   10              MR. DRESCHER:      I think we've gone over the question of

                   11 the police report on the subject of dangerousness.

                   12         With regard to the incident at the border, I think the

                   13 record before the Court indicates that Mr. Mahdawi was

                   14 discovered to have controlled substances in his possession when

                   15 he crossed the border back in 2018 or 2019.

                   16              THE COURT:     '19, I think.

                   17              MR. DRESCHER:      As we explained in our filings, there's

                   18 no suggestion that Mr. Mahdawi has been convicted of any

                   19 offense.      The fact of that arrest and the fact that there were

                   20 charges and the fact that the charges were dismissed were

                   21 presented to the Court, and Mr. Mahdawi's filing number -- in

                   22 Document 19-4, I think it's significant for the Court to

                   23 consider whether somebody who is here as a noncitizen, who is

                   24 potentially subject to removal for violating certain controlled

                   25 substance offenses, to be leaning that closely in to conduct


                                                   JA 537
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                    1 that could be a violation of a controlled substance offense is

                    2 a fair consideration for the Court in assessing Mr. Mahdawi's

                    3 suitability for release.

                    4         Finally, as we tried to spell out, Mr. Mahdawi clearly has

                    5 access to resources that would enable him to abscond if he were

                    6 of a mind to do that.          He has engaged in international travel

                    7 on multiple occasions, I understand as recently as last year,

                    8 and that is another factor the Court should consider in

                    9 assessing whether Mr. Mahdawi is suitable for release.

                   10         The crux of our argument on Mapp relief, Your Honor, is

                   11 despite the profound impact it has on Mr. Mahdawi, his

                   12 detention right now is not illegal, and the argument that is

                   13 presented by the petition asks this court to get involved in

                   14 the implementation of the foreign policy of the United States,

                   15 and I think the Supreme Court has made clear that courts should

                   16 be extraordinarily reluctant to do that.               And given that legal

                   17 landscape, Mapp relief is not appropriate.

                   18         Before I sit down, if Your Honor is inclined to issue an

                   19 order releasing Mr. Mahdawi under Mapp, I would like to move

                   20 for a stay of that order of seven days as indicated in our

                   21 filing so that the government could pursue review of that order

                   22 at the Circuit.

                   23              THE COURT:     And I made a note of the four factors

                   24 supporting -- that would support a stay.               I think we have

                   25 probably exhausted the conversation on the likelihood that


                                                   JA 538
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                    1 you'll prevail on the merits, though I welcome anything else

                    2 you have to say, but I recognize you've spoken at that at

                    3 length.

                    4         The next is the likelihood that the moving party will be

                    5 irreparably harmed absent a stay.             Where do you come down on

                    6 that one?

                    7              MR. DRESCHER:      For all the reasons I just articulated

                    8 in terms of the merger of the question of release with regard

                    9 to the Secretary of State's determination --

                   10              THE COURT:     That would go to whether you win the

                   11 first, but the harm to Mr. Mahdawi, obviously recognized,

                   12 right?

                   13              MR. DRESCHER:      Yeah.    There are competing

                   14 considerations there, but I want to emphasize the government's

                   15 legitimate interest in implementing the foreign policy in this

                   16 context in the manner prescribed by Congress and that his

                   17 release would -- would be inconsistent with that.

                   18              THE COURT:     And the third is the prospect that others

                   19 will be harmed if the Court grants a stay.                Applicable here or

                   20 not?

                   21              MR. DRESCHER:      It's my recollection that in these

                   22 contexts, those two factors merge together.                You know, to the

                   23 extent others are harmed, I think we can invoke the Secretary

                   24 of State's determination that what's in the foreign policy

                   25 interest of the United States affects the welfare of the -- of


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                    1 the government's relations with foreign powers and its domestic

                    2 affairs as well.

                    3              THE COURT:     And the fourth - I just want to make sure

                    4 that I tick them off and hear from you - the public interest in

                    5 granting the stay would be the same as the government's

                    6 interest; is that -- I don't mean to put words in your mouth.

                    7 I'll just give you the floor.

                    8              MR. DRESCHER:      Yes.    It would be the same.       And all of

                    9 this also circles back to our jurisdictional arguments, that,

                   10 you know, institutionally we don't think the Court should be

                   11 doing this, that if the Court is involving itself where we

                   12 believe the INA specifies it should not, you know, that creates

                   13 an added layer of concern that should -- that should weigh in

                   14 the Court's consideration of that motion.

                   15         Just to -- so I think I've said my piece with regard to

                   16 the contingent motion for a stay if the Court is inclined to

                   17 issue -- order him released.

                   18              THE COURT:     Yeah.    Fair enough.      Thank you.

                   19              MR. DRESCHER:      Thank you.

                   20              THE COURT:     Mr. Drescher, thank you.

                   21         Why don't I give you the last word.

                   22              MR. MALEWSKI:      Thank you, Your Honor.

                   23         I think Your Honor has it right.            We're not asking this

                   24 court to delve into the foreign policy decisions of the United

                   25 States or the reasons and the arguments that the government's


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                    1 going to make in the removal proceeding.               This is just about a

                    2 habeas claim, making an argument that Mr. Mahdawi is being held

                    3 in direct violation of his constitutional rights.

                    4         I think as to a stay --

                    5              THE COURT:     I tried to be hard on Mr. Drescher, but I

                    6 try to be sort of equal opportunity about this and be a little

                    7 bit hard on you.        I feel like we're trying to separate an egg

                    8 here.     How does the -- why isn't the arrest of Mr. Mahdawi by

                    9 the agents and the service on him of a notice to appear, why

                   10 isn't that part of his removal case?

                   11              MR. MALEWSKI:      Well, I think, Your Honor, you separate

                   12 an egg carefully, and here we are arguing that no government

                   13 official has the discretion to detain Mr. Mahdawi solely

                   14 because of his speech, and that is exactly the sort of

                   15 constitutional claim that the Supreme Court has recognized we

                   16 can bring apart from the removal proceeding, and that granting

                   17 relief on that claim, contrary to the government's statements,

                   18 doesn't impact the removal proceeding at all.                 The removal

                   19 proceeding continues apace.

                   20              THE COURT:     You have a hearing soon, right?

                   21              MR. MALEWSKI:      Yes, Your Honor.       I believe there is a

                   22 remote hearing scheduled for maybe tomorrow --

                   23              THE COURT:     Right.

                   24              MR. MALEWSKI:      -- at the moment.        Historically that's

                   25 how it happens.        Detention is the exception, not the common


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                    1 process.      So I think the government is not impinged or impaired

                    2 or -- their ability to proceed with the removal proceeding is

                    3 not altered in any way by this court granting relief that we've

                    4 asked for.

                    5              THE COURT:     And from your perspective, what would be

                    6 the appropriate package?           Just release on personal recognizance

                    7 or a set of conditions or -- if Mr. Mahdawi's released, I have

                    8 considerable confidence in officials within Vermont that they

                    9 will recognize my order.

                   10              MR. MALEWSKI:      Um-hum.

                   11              THE COURT:     I've always had a very candid and positive

                   12 relationship.        I worry about New York City because it's a

                   13 bigger place and they seem a long way away.                How would you see

                   14 packaging success from your perspective?

                   15              MR. MALEWSKI:      Mr. Mahdawi lives in Vermont.

                   16              THE COURT:     Right.

                   17              MR. MALEWSKI:      As you know, attends university in New

                   18 York City.       I believe that his university would be able to

                   19 accommodate remote attendance.            Our preference would be that

                   20 this court grants release that at a bare minimum allows

                   21 Mr. Mahdawi to be present in his home in Vermont as well as

                   22 attend classes and life -- university life in New York City at

                   23 Columbia University without restriction and without threat that

                   24 the government will detain him.

                   25              THE COURT:     All right.      And presumably visit his


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                    1 attorneys as well.

                    2              MR. MALEWSKI:      Yes.    Yes, Your Honor.

                    3              THE COURT:     So he would remain, from your perspective,

                    4 subject to the original administrative detention, but it would

                    5 be lifted with respect to incarceration and replaced, in a

                    6 process analogous to a criminal case, with those conditions of

                    7 residence in Vermont, attendance in New York for educational

                    8 and legal purposes?         Just -- I want to make sure I understand

                    9 kind of the setting.

                   10              MR. MALEWSKI:      I think that's right, Your Honor.          I

                   11 think the immigration proceeding continues to have custody of

                   12 Mr. Mahdawi in order to continue with the proceeding --

                   13              THE COURT:     Right.

                   14              MR. MALEWSKI:      -- in that sense, but he would no

                   15 longer be detained in a facility and be allowed to travel

                   16 freely to pursue his life.

                   17              THE COURT:     All right.      Fair enough.      Thank you.

                   18              MR. MALEWSKI:      Thank you, Your Honor.

                   19              THE COURT:     Does that complete the presentation from

                   20 everybody?       I don't want to leave anyone out.

                   21              MS. DROUBI:      Just one addition, Your Honor.        To the

                   22 extent it would be helpful to the Court, we have provided a

                   23 declaration from the Burlington Community Justice Center, who's

                   24 prepared to provide additional information if that would be

                   25 amenable or helpful to the Court about their support in any


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                    1 release.

                    2              THE COURT:     Okay.    Thank you.

                    3         I'll announce my decision orally.            I've prepared a more

                    4 detailed explanation, and in light of the points made today, I

                    5 need an hour or two to revise it, and I'll release it by 3:00

                    6 or so this afternoon.

                    7         I'm satisfied that -- first, that as a preliminary matter,

                    8 that the Court has a basis for exercising habeas jurisdiction

                    9 over the arrest and detention of Mr. Mahdawi.                 I have great

                   10 respect for the -- I've said this before, and I mean it from my

                   11 heart, for the immigration court and the immigration process,

                   12 and I have no intention of interfering with those proceedings

                   13 that I think start -- they really have their first hearing

                   14 tomorrow, and I recognize that the immigration judge will face

                   15 some of these questions as well.

                   16         But to return to my main theme, I am satisfied that -- at

                   17 least for purposes of a bail hearing under Mapp v. Reno that

                   18 the Court has a basis for proceeding, for issuing an order

                   19 regarding release or detention that governs -- that applies

                   20 during the pendency of the -- of the resolution of the habeas

                   21 claim.      That's already happening.         We have a briefing schedule

                   22 to more completely address the jurisdiction-stripping issues.

                   23 Those briefs haven't come in.            I'll set a hearing at the

                   24 earliest opportunity and rule promptly on that.                   But I think

                   25 I -- Mr. Mahdawi is -- and his attorneys are correct in


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                    1 bringing the issue of his detention forward to the District of

                    2 Vermont in the habeas setting, and we will talk much more about

                    3 this in the weeks ahead.

                    4         That really brings me to the Mapp discussion.             I followed

                    5 as best I can Judge Calabresi, who has laid out a broad process

                    6 for addressing these issues.            I think Mr. Mahdawi has made

                    7 substantial claims that his detention is the result of

                    8 retaliation for protected speech that he engaged in as a

                    9 college student on the Columbia campus.               The various

                   10 administration figures have been candid in expressing their

                   11 intent to shut down debate of the type that he was engaged in.

                   12 I make no ruling about the merits of the claims, only that

                   13 these are substantial issues fairly raised and that need

                   14 careful consideration by the government and the Court.

                   15         Extraordinary circumstances I think are present in a

                   16 couple of ways, and I have in mind the need for the Court to

                   17 find that it's necessary to maintain Mr. Mahdawi's presence

                   18 here in Vermont in order to resolve the petition.

                   19         I would find extraordinary circumstances first in the --

                   20 in the claims themselves.           This is not the first time that the

                   21 nation has seen a chilling action by the government intended to

                   22 shut down debate, but it's not common.               We saw -- I've

                   23 addressed this a little in the draft.               We certainly saw it in

                   24 the Red Scare:        the Palmer Raids of 1919-1920; during -- also

                   25 during the McCarthy period.            Both times the immigration laws


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                    1 were used to remove people for their speech.                 These are not

                    2 chapters that we look back with much pride on.                    I think the

                    3 wheel has come round again and the circumstances are fairly

                    4 described as extraordinary.

                    5         I would also find extraordinary circumstances in the

                    6 detention of a person who has received remarkable support from

                    7 over 90 community members and academics and colleagues and

                    8 professors across the United States, many of them Jewish, many

                    9 of them not obvious allies of his views but people who have in

                   10 a remarkable, consistent pattern described him as a peaceful

                   11 and positive person who seeks consensus during these really

                   12 difficult times and in this really difficult discussion about

                   13 the direction of policy in the -- in the Middle East.

                   14         I largely discount the suggestion that he presents a risk

                   15 of harm to others based on the 2015 information that appears in

                   16 the police report.         I'm satisfied that the information, which

                   17 was, as I said before, shocking when I first read it -- it

                   18 concerned an interest in automatic weapons and a sniper rifle.

                   19 It is exactly the type of information that the FBI exists to --

                   20 is charged with investigating.            They did so and met with

                   21 Mr. Mahdawi and took no further action.               The inference that I

                   22 draw is that they found he had -- was not a risk to any of us,

                   23 that they were satisfied with his explanation.                    It was ten

                   24 years ago.       Difficult to tell exactly what were the motives of

                   25 the gunsmith and his friend.            But on the whole, for purposes of


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                    1 bail, I would draw from closing the file and no further -- no

                    2 further action that these reports were in large part

                    3 fabricated.       So I don't find a basis for fearing risk of harm.

                    4         With respect to risk of flight, which I always consider in

                    5 making a decision about release or detention, Mr. Mahdawi has

                    6 been a resident of the United States for a decade.                He is a

                    7 resident specifically of our state or he has a permanent home

                    8 and what I would judge to be a part-time camp, which he built

                    9 himself.      He has strong ties in his community that are -- that

                   10 are described in many of the letters from the Upper Valley

                   11 area, where he has been a longtime resident.                 Neighbors and

                   12 congregants at the Unitarian Church, his state senator, all of

                   13 these people have attested to his strong ties to the community.

                   14 I think risk of flight -- and he appeared voluntarily in

                   15 response to the USCIS summons even though he knew there was a

                   16 strong possibility that he would be -- could be arrested when

                   17 he showed up for his final citizenship interview.                 He didn't

                   18 flee then.       I think the risk of flight is minimal.

                   19         So I think no risk of harm, no risk of flight, a man

                   20 raising substantial claims that may or may not succeed in this

                   21 court but certainly raise very important issues, those were

                   22 the -- and the great fear for all of us of a chilling or

                   23 degradation of the First Amendment rights which are very much

                   24 at the heart of our -- of our democracy, all of those I think

                   25 support his release subject to the following conditions:


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                    1         That he continue to reside in Vermont.

                    2         That he is permitted to attend college and see his lawyers

                    3 as necessary in New York City.            Of course, he can pass through

                    4 the states that are needed for that -- for those visits.

                    5         As I see the setting of his legal status, certainly his

                    6 administrative hold remains in effect.               He remains subject to

                    7 this court's jurisdiction but also the administrative process.

                    8 He's not fully released, but I think these conditions are

                    9 sufficient to ensure his attendance both in this court and

                   10 in -- through the remote process that starts tomorrow with the

                   11 immigration courts.

                   12         I had given thought to the -- to the question of staying

                   13 the order, and I have in mind the factors that Mr. Drescher was

                   14 kind enough to discuss with me.

                   15         Likelihood that the party seeking the stay will prevail on

                   16 the merits, I don't think there is a strong likelihood of this.

                   17 I say this because I am determined to recognize and stay clear

                   18 of the removal proceeding.           I respect the jurisdictional limits

                   19 there.      But what remains of the case is I think a strong claim

                   20 of arrest and detention by the agents in order to stifle the

                   21 speech of Mr. Mahdawi and those who agree with him, so that I

                   22 think it is likely that he may well prevail on the merits.

                   23 It's up to the decision-maker.            It's awkward to sort of

                   24 forecast this, and it's subject to change, but I think his case

                   25 is strong so long as his judge takes pains not to interfere


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                    1 with the removal proceedings in Louisiana.

                    2         Turning to the second, the likelihood that the moving

                    3 party would be irreparably harmed absent a stay, I think that

                    4 the two weeks of detention so far demonstrate the great harm

                    5 that this process inflicts on a person who has been charged

                    6 with no crime and who has received -- demonstrated his bona

                    7 fides in good faith in so many ways.              I think even another day

                    8 of detention is not to be tolerated.

                    9         The prospect that others will be harmed if the Court

                   10 grants the stay doesn't, I think, apply directly.                 I think that

                   11 that really relates to stays in conventional civil cases.                I do

                   12 have in mind certainly that the government represents that it

                   13 will be harmed in its conduct of foreign policy, but I don't

                   14 think the harm of sending Mr. Mahdawi back to his home this

                   15 morning is -- really presents any great risk to the national

                   16 interest.

                   17         The public interest in granting the stay, again, I think

                   18 doesn't apply directly except in the sense that I've already

                   19 talked about:        that the First Amendment values raised in

                   20 Mr. Mahdawi's petition are close to the heart of what we are

                   21 about as a nation.

                   22         So I won't grant a stay.         I have thought about kind of

                   23 postponing the effectiveness of Mr. Mahdawi's release, and I

                   24 see no reason to do that.           He is a person who has -- presents

                   25 no risk of flight.         If there is an appeal and if I'm incorrect


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                    1 in this judgment, he will be at his home or at his college and

                    2 will surrender in the normal course, but I don't think that's

                    3 very likely.       I think these are issues that can fairly be

                    4 resolved while Mr. Mahdawi follows the conditions that the

                    5 Court has set of continued residence at his home and at his

                    6 camp in the White River Junction area and meaningful engagement

                    7 and attendance in his -- wrapping up his college career and

                    8 preparing as best he can for the graduate school.

                    9         So, Mr. Mahdawi, I will order you released.               I'll follow

                   10 this up with a written order, but the release is effective at

                   11 this time.

                   12         Do the officers have any paperwork that they need to

                   13 complete?

                   14              IMMIGRATION OFFICER:        No.

                   15              THE COURT:     Does he have his phone and his wallet and

                   16 that kind of thing?

                   17              IMMIGRATION OFFICER:        We can return them to him right

                   18 now, Your Honor.

                   19              THE COURT:     Good.    If you could do that, I'll release

                   20 him now from the courtroom and we will schedule the next

                   21 hearing.

                   22              COUNSEL:     Thank you, Your Honor.

                   23              THE COURT:     I'll see you out.        Go ahead and I'll make

                   24 sure all goes well.

                   25         (Court was in recess at 10:20 AM.)


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                    1                           C E R T I F I C A T I O N

                    2        I certify that the foregoing is a correct transcript from

                    3 the record of proceedings in the above-entitled matter.

                    4

                    5

                    6 May 2, 2025                                     ___________________________
                                                                        Johanna Massé, RMR, CRR
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           BCLVLCV14V4=L<4HV-V9=;<LVH=K?VCHV-V3-B;4HVLCVL<4V2CAAOB=LTV #=B-@@T V&HV&-<3-S=KVH4@4-K4VS=@@V

           04B48LV<=KV2CAAOB=N VS<=2<V-EE4-HKVLCV344E@TV2<4H=K<V/3VR-@O4V<=AV *<4V2COIMVL<4H4:H4V

           342@=B4KVLCVKL-TV=LKVCH34HVE4B3=B;V-EE4-@V-B3V=BKL4-3VH4GO=H4KV&HV&-<3-S=VKV=AA43=-L4VH4@4-K4V

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           &C<K4BV&-3-S=VCBV<=KVF4HKCB-@VH42C;B=U-B24V3OH=B;VL<4VE4B34B2TVC5VL<=KV<-04-KVEHC2443=B;V

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(83 of 95), Page 83 of 95 Case: 25-1113, 07/01/2025, DktEntry: 101.4, Page 83 of 95
                       2:25-cv-00389-gwc Document 54 Filed 04/30/25 Page 29 of 29




               Dated at Burlington, in the District of Vermont, this 30th day of April, 2025.




                                                       JA 580
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                        2:25-cv-00389-gwc Document 55 Filed 04/30/25 Page 1 of 1




                                        UNITED STATES DISTRICT COURT
                                            DISTRICT OF VERMONT


             MOHSEN MAHDAWI,

                                         Petitioner,

                            v.                                                    No. 2:25-cv-389

             DONALD J. TRUMP, in his official capacity as
             President of the United States; PATRICIA
             HYDE, in her official capacity as Acting Field
             Office Director; Vermont Sub-Office Director of
             Immigration and Customs Enforcement; TODD
             M. LYONS, in his official capacity as Acting
             Director for U.S. Immigration and Customs
             Enforcement; KRISTI NOEM, in her official
             capacity as Secretary of the United States
             Department of Homeland Security; MARCO
             RUBIO, in his official capacity as Secretary of
             State; and PAMELA BONDI, in her official
             capacity as Attorney General of the United
             States,

                                         Respondents.


                                        RESPONDENTS’ NOTICE OF APPEAL

                   PLEASE TAKE NOTICE that all named Respondents hereby appeal to the United

            States Court of Appeals for the Second Circuit from the Court’s Orders of April 24, 2025 (ECF

            No. 34, extending the temporary restraining order) and of April 30, 2025 (ECF No. 54,

            accepting jurisdiction, ordering Petitioner’s release under Mapp v. Reno, and denying motion

            for stay pending appeal).

                                                               Respectfully submitted,

            Dated: April 30, 2025                       By:    /s/ Michael P. Drescher
                                                               Michael P. Drescher
                                                               Acting United States Attorney
                                                               District of Vermont


                                                        JA 581
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                                             2:25cv389, Mahdawi V. Trump Et Al
                                                          US District Court Docket
                                                   United States District Court, Vermont
                                                                 (Burlington)
                                                 This case was retrieved on 06/27/2025

         Header


          Case Number: 2:25cv389                                                                                   Class Code: Open
          Date Filed: 04/14/2025                                                                                   Statute: 8:1105(a)
          Assigned To: District Judge Geoffrey W. Crawford                                                       Jury Demand: None
          Nature of Suit: Habeas Corpus - Alien Detainee (463)                                                  Demand Amount: $0
          Cause: Aliens: Habeas Corpus to Release INS Detainee                         NOS Description: Habeas Corpus - Alien Detainee
          Lead Docket: None
          Other Docket: None
          Jurisdiction: U.S. Government Defendant




         Participants

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                                                                  JA 582
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(86 of 95), Page 86 of 95   Case: 25-1113, 07/01/2025, DktEntry: 101.4, Page 86 of 95

                                          2:25cv389, Mahdawi V. Trump Et Al

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                                                     JA 583
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                                                             2:25cv389, Mahdawi V. Trump Et Al

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(88 of 95), Page 88 of 95            Case: 25-1113, 07/01/2025, DktEntry: 101.4, Page 88 of 95

                                                             2:25cv389, Mahdawi V. Trump Et Al

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         Proceedings

          #          Date                   Proceeding Text                                                             Source
          1          04/14/2025             PETITION for Writ of Habeas Corpus filed by Mohsen Mahdawi.
                                            (Filing fee $ 5.) (Attachments: # 1 Civil Cover Sheet)(Delaney, Andrew)
                                            (Attachment 1 replaced on 4/14/2025) (law). (Entered: 04/14/2025)
          2          04/14/2025             EMERGENCY MOTION for Temporary Restraining Order filed by
                                            Mohsen Mahdawi. (Delaney, Andrew) (Main Document 2 replaced and
                                            Attachment(s) added on 4/14/2025: # 1 Proposed Order) (law). (Main
                                            Document 2 replaced on 4/18/2025) (sjl). (Entered: 04/14/2025)
          3          04/14/2025             CASE assigned to Judge William K. Sessions III. (law) (Entered:
                                            04/14/2025)
          4          04/14/2025             NOTICE OF DOCKET ENTRY CORRECTION re: 1 PETITION for
                                            Writ of Habeas Corpus filed by Mohsen Mahdawi. This JS 44 Civil
                                            Cover Sheet omitted the related case information and has been replaced.
                                            The corrected JS 44 is now attached to 1 and this entry. (law) (Entered:
                                            04/14/2025)
          5          04/14/2025             NOTICE OF DOCKET ENTRY CORRECTION re: 2 EMERGENCY
                                            MOTION for Temporary Restraining Order filed by Mohsen Mahdawi.
                                            The main document combined the motion and proposed order as a
                                            singular PDF. Also, the proposed order has been revised to include a full
                                            case caption. The documents have been broken apart and are now
                                            separately attached to 2 and this entry. (Attachments: # 1 Proposed
                                                                           JA 585
                                            Order) (law) (Entered: 04/14/2025)
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          #      Date             Proceeding Text                                                               Source
                 04/14/2025       FILING FEE RECEIVED of $5.00. Receipt number 5683. (kac)
                                  (Entered: 04/14/2025)
          6      04/14/2025       ORDER granting 2 Emergency Motion for Temporary Restraining
                                  Order. Signed by Judge William K. Sessions III on 4/14/2025. (law)
                                  (Entered: 04/14/2025)
          7      04/14/2025       MOTION for Appearance Pro Hac Vice of David A. Isaacson (Filing fee
                                  $ 150 receipt number AVTDC-2059973) filed by Mohsen Mahdawi
                                  (Attachments: # 1 Affidavit of David A. Isaacson, # 2 Certificate of
                                  Good Standing) (Delaney, Andrew) Modified on 4/14/2025 to clarify
                                  attachments (sjl). (Entered: 04/14/2025)
          8      04/14/2025       ORDER granting 7 Motion for Admission Pro Hac Vice of David A.
                                  Isaacson. Signed by Judge William K. Sessions III on 4/14/2025. (This is
                                  a text-only Order.) (eae) (Entered: 04/14/2025)
          9      04/15/2025       MOTION for Appearance Pro Hac Vice of Luna Droubi (Filing fee $
                                  150 receipt number AVTDC-2060446) filed by Mohsen Mahdawi
                                  (Attachments: # 1 Affidavit of Luna Droubi, # 2 Certificate of Good
                                  Standing) (Delaney, Andrew) Modified on 4/15/2025 to clarify
                                  attachments (sjl). (Entered: 04/15/2025)
          10     04/15/2025       MOTION for Appearance Pro Hac Vice of Cyrus D. Mehta (Filing fee $
                                  150 receipt number AVTDC-2060453) filed by Mohsen Mahdawi
                                  (Attachments: # 1 Affidavit of Cyrus D. Mehta, # 2 Certificate of Good
                                  Standing) (Delaney, Andrew) (Entered: 04/15/2025)
          11     04/15/2025       NOTICE OF APPEARANCE by Michael P. Drescher, AUSA on behalf
                                  of Donald J. Trump, Patricia Hyde, J Doe, Todd Lyons, Kristi Noem,
                                  Marco A. Rubio, Pamela Bondi.(Drescher, Michael) Filers clarified on
                                  4/15/2025 (law). (Entered: 04/15/2025)
          12     04/15/2025       ORDER REASSIGNING CASE. It is found that this is likely not a
                                  related case to 2:25-cv-00374 and the clerk is directed to return this case
                                  to the civil wheel for random reassignment. Signed by Judge William K.
                                  Sessions III on 4/15/2025. (law) Modified on 4/15/2025 to clarify text
                                  (sjl). (Entered: 04/15/2025)
          13     04/15/2025       CASE reassigned to District Judge Geoffrey W. Crawford. (law)
                                  (Entered: 04/15/2025)
          14     04/16/2025       ORDER granting 9 and 10 MOTIONS for Admission Pro Hac Vice of
                                  Luna Droubi and Cyrus D. Mehta respectively. Signed by District Judge
                                  Geoffrey W. Crawford on 4/16/2025. (This is a text-only Order.) (jal)
                                  (Entered: 04/16/2025)
          15     04/16/2025       NOTICE of Hearing: Status Conference set for 4/23/2025 at 9:00 AM in
                                  Burlington Courtroom 110 before District Judge Geoffrey W. Crawford.
                                  (eh) (Entered: 04/16/2025)
          16     04/18/2025       ORDER: re 15 Notice of Hearing. Counsel shall be prepared to address
                                  preliminary issues of jurisdiction and detention or release. If necessary,
                                  court may allow additional briefing after the hearing. Signed by District
                                  Judge Geoffrey W. Crawford on 4/18/2025. (This is a text-only
                                  Order.)(jal) (Entered: 04/18/2025)
          17     04/18/2025       NOTICE OF DOCKET ENTRY CORRECTION re: 2 EMERGENCY
                                  MOTION for Temporary Restraining Order. The Main Document has
                                  been replaced to include the corrected document as an earlier correction
                                  omitted the main document. The corrected Main Document is now
                                  attached to 2 and this entry. (sjl) (Entered: 04/18/2025)
          18     04/21/2025       MOTION for Appearance Pro Hac Vice of Matthew Melewski (Filing
                                  fee $ 150 receipt number AVTDC-2063276) filed by Mohsen Mahdawi
                                  (Attachments: # 1 Affidavit of Matthew Melewski # 2 Certificate of
                                  Good Standing) (Delaney, Andrew) Modified on 4/22/2025 to clarify
                                  attachment (sjl). (Entered: 04/21/2025)
          19     04/22/2025       MOTION for Release Under Mapp v. Reno with Request for Oral
                                  Argument/Hearing filed by Mohsen Mahdawi (Attachments: # 1 Exhibit

                                                                JA 586
                                  1 (sealed), # 2 Declaration of Mohsen Mahdawi (sealed), # 3 Exhibit 3
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          #      Date             Proceeding Text                                                                Source
                                  (sealed), # 4 Exhibit 4 (sealed)) (Delaney, Andrew) Modified on
                                  4/22/2025 to clarify text/attachments and Attachment 1 replaced) (sjl).
                                  (Additional attachment(s) added on 4/22/2025: # 5 Exhibit 1 (redacted)),
                                  # 6 Exhibit 3 (redacted)) (sjl). (Entered: 04/22/2025)
          20     04/22/2025       NOTICE OF DOCKET ENTRY CORRECTION re: 19 MOTION for for
                                  Release Under Mapp v. Reno. Exhibit 1 has been replaced to remove
                                  illegible PDF headers. The corrected document is now attached to 19 and
                                  this entry. (sjl) (Entered: 04/22/2025)
          21     04/22/2025       REVISED NOTICE of Hearing: Status Conference and Hearing on 19
                                  MOTION for Release Under Mapp v. Reno set for 4/23/2025 at 09:00
                                  AM in Burlington Courtroom 110 before District Judge Geoffrey W.
                                  Crawford. (Revised only to include hearing on Doc. 19 .) (sjl) (Entered:
                                  04/22/2025)
          22     04/22/2025       ORDER granting 18 MOTION for Admission Pro Hac Vice of Matthew
                                  Melewski. Signed by District Judge Geoffrey W. Crawford on
                                  4/22/2025. (This is a text-only Order.) (jal) (Entered: 04/22/2025)
          23     04/22/2025       MOTION for Leave to File an Amicus Curiae Brief filed by
                                  Immigration Lawyers, Law Professors, and Scholars (Attachments: # 1
                                  Proposed Amicus Brief, # 2 Appendix I, # 3 Appendix II, # 4 Proposed
                                  Order) (Stokes, Brett) Modified on 4/22/2025 to clarify attachments (sjl).
                                  (Attachment 2 replaced on 4/28/2025) (sjl). (Entered: 04/22/2025)
          24     04/22/2025       UNOPPOSED MOTION to File Under Seal Certain Exhibits re: 19
                                  MOTION for Release Under Mapp v. Reno filed by Mohsen Mahdawi
                                  (Delaney, Andrew) Modified on 4/22/2025 to clarify text (sjl). (Entered:
                                  04/22/2025)
          25     04/22/2025       MEMORANDUM by Donald J. Trump, Patricia Hyde, J Doe, Todd
                                  Lyons, Kristi Noem, Marco A. Rubio, Pamela Bondi (Prehearing
                                  Submission) re: 1 PETITION for Writ of Habeas Corpus. (Drescher,
                                  Michael) Modified on 4/22/2025 to clarify text (sjl). Modified on
                                  4/23/2025 to update docket event type (sjl). (Entered: 04/22/2025)
          26     04/22/2025       ORDER granting 23 MOTION for Leave to File an Amicus Curiae
                                  Brief. Signed by District Judge Geoffrey W. Crawford on 4/22/2025.
                                  (This is a text-only Order.) (jal) (Entered: 04/22/2025)
          27     04/22/2025       NOTICE OF DOCKET ENTRY CORRECTION re: 19 MOTION for
                                  Release Under Mapp v. Reno filed by Mohsen Mahdawi. Exhibits 1 and
                                  3 have been sealed. Redacted versions of Exhibits 1 and 3 are now
                                  attached to 19 and this entry. (Attachments: # 1 Exhibit 3 (redacted)) (sjl)
                                  (Entered: 04/22/2025)
          28     04/23/2025       MINUTE ENTRY for proceedings held before District Judge Geoffrey
                                  W. Crawford: Status Conference held on 4/23/2025. Attorneys C. Mehta,
                                  D. Isaacson, L. Droubi, M. Melewski, and A. Delaney present with
                                  petitioner. M. Drescher, AUSA present on behalf of respondents. Court
                                  makes inquiries and counsel makes statements. Court makes findings.
                                  ORDERED: 25 Memorandum converted to a Motion to Dismiss Under
                                  R. 12. Petitioner to file responses within 14 days, respondent to file
                                  replies 7 days thereafter. Motion hearing re: 19 MOTION for Release
                                  Under Mapp v. Reno set for 4/30/2025 at 9:00 AM in Burlington
                                  Courtroom 110 before District Judge Geoffrey W. Crawford. Court to
                                  issue entry order. (Court Reporter: Johanna Masse) (eh) (Entered:
                                  04/23/2025)
          29     04/23/2025       NOTICE of Hearing re: 19 MOTION for Release Under Mapp v. Reno.
                                  Motion Hearing set for 4/30/2025 at 9:00 AM in Burlington Courtroom
                                  110 before District Judge Geoffrey W. Crawford. (eh) (Entered:
                                  04/23/2025)
          30     04/23/2025       NOTICE OF APPEARANCE by Lia N. Ernst, Esq on behalf of Mohsen
                                  Mahdawi.(Ernst, Lia) (Entered: 04/23/2025)
          31     04/23/2025       NOTICE OF APPEARANCE by Monica H. Allard, Esq on behalf of
                                  Mohsen Mahdawi.(Allard, Monica) (Entered: 04/23/2025)
                                                                 JA 587
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          #      Date             Proceeding Text                                                              Source
          32     04/23/2025       NOTICE OF APPEARANCE by Hillary A. Rich, Esq on behalf of
                                  Mohsen Mahdawi.(Rich, Hillary) (Entered: 04/23/2025)
          33     04/23/2025       SCHEDULING ORDER AND ORDER on Motion to File Under Seal
                                  (Doc. 24 ). The court will resume the hearing on the motion for release
                                  on Wednesday, April 30, 2025, at 9:00 a.m. The court requires the
                                  presence of the petitioner Mr. Mahdawi in court. The Government's
                                  response to the motion for release shall be filed not later than noon,
                                  Monday, April 28, 2025. Any reply from the petitioner shall be filed not
                                  later than noon, Tuesday, April 29, 2025. The court converts the
                                  Government's Memorandum (Doc. 25 ) to a motion to dismiss the
                                  petition under Fed. R. Civ. P. 12. The petitioner's response to the motion
                                  to dismiss shall be filed not later than May 7, 2025. The Government's
                                  reply shall be filed not later than May 14, 2025. The court GRANTS the
                                  motion to file under seal certain exhibits containing personal identifying
                                  information (Doc. 24 ). In addition, the court has removed identifying
                                  information such as residence addresses and "A number" identifiers from
                                  the petitioner's filings. Signed by District Judge Geoffrey W. Crawford
                                  on 4/23/2025. (sjl) (Entered: 04/23/2025)
          34     04/24/2025       ORDER EXTENDING TEMPORARY RESTRAINING ORDER. The
                                  court ORDERS that the temporary restraining order issued on the date of
                                  Mr. Mahdawi's arrest is extended for a period of 90 days or until
                                  dismissal of this case or grant of a preliminary injunction, whichever is
                                  earliest. The court orders that no respondent, including any agent or
                                  employee, shall remove Mr. Mahdawi from Vermont without further
                                  order from this court. Signed by District Judge Geoffrey W. Crawford on
                                  4/23/2025. (sjl) (Entered: 04/24/2025)
          35     04/25/2025       MOTION for Leave to File Amicus Brief and MOTION to Expedite
                                  filed by E.S. (Attachments: # 1 Proposed Amicus Brief)(law) (Entered:
                                  04/25/2025)
          36     04/25/2025       UNOPPOSED MOTION for Appearance Pro Hac Vice of Nathan Freed
                                  Wessler, Brett Max Kaufman, Brian Hauss, Esha Bhandari, Noor Zafar,
                                  Sidra Mahfooz (Filing fee $ 900 receipt number AVTDC-2065878) filed
                                  by Mohsen Mahdawi (Attachments: # 1 Affidavit of Nathan Freed
                                  Wessler, # 2 Certificate of Good Standing Nathan Freed Wessler, # 3
                                  Affidavit of Brett Max Kaufman, # 4 Certificate of Good Standing Brett
                                  Max Kaufman, # 5 Affidavit of Brian Hauss, # 6 Certificate of Good
                                  Standing Brian Hauss, # 7 Affidavit of Esha Bhandari, # 8 Certificate of
                                  Good Standing Esha Bhandari, # 9 Affidavit of Noor Zafar, # 10
                                  Certificate of Good Standing Noor Zafar, # 11 Affidavit of Sidra
                                  Mahfooz, # 12 Certificate of Good Standing Sidra Mahfooz)(Ernst, Lia)
                                  Modified to clarify text and Attachment 11 replaced on 4/28/2025) (sjl).
                                  (Entered: 04/25/2025)
          37     04/25/2025       UNOPPOSED MOTION for Appearance Pro Hac Vice of Shezza
                                  Abboushi Dallal (Filing fee $ 150 receipt number AVTDC-2065899)
                                  filed by Mohsen Mahdawi (Attachments: # 1 Affidavit of Shezza
                                  Abboushi Dallal, # 2 Certificate of Good Standing) (Ernst, Lia) Modified
                                  on 4/28/2025 to clarify text/attachment (sjl). (Entered: 04/25/2025)
          38     04/28/2025       TRANSCRIPT of Status Conference and Motion for Release Hearing
                                  held on 4/23/2025 before Judge Geoffrey W. Crawford. Court
                                  Reporter/Transcriber Johanna Masse, telephone number 802-951-8102.
                                  Transcript may be viewed at the court public terminal or purchased
                                  through the Court Reporter/Transcriber before the deadline for Release
                                  of Transcript Restriction. After that date it may be obtained through
                                  PACER. Redaction Request due 5/22/2025. Redacted Transcript
                                  Deadline set for 6/2/2025. Release of Transcript Restriction set for
                                  7/31/2025. (sjl) (Entered: 04/28/2025)
          39     04/28/2025       ORDER: re 35 MOTION for Leave to File MOTION to Expedite
                                  Ruling; The court acknowledges with thanks receipt of this filing and
                                  declines to include it in the docket of 2:25-CV-389. Signed by District
                                                                JA 588
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          #      Date             Proceeding Text                                                             Source
                                  Judge Geoffrey W. Crawford on 4/28/2025. (This is a text-only Order.)
                                  (jal) (Entered: 04/28/2025)
          40     04/28/2025       NOTICE OF DOCKET ENTRY CORRECTION re: 36 UNOPPOSED
                                  MOTION for Appearance Pro Hac Vice of Nathan Freed Wessler, Brett
                                  Max Kaufman, Brian Hauss, Esha Bhandari, Noor Zafar, Sidra Mahfooz
                                  filed by Mohsen Mahdawi. The Affidavit of Sidra Mahfooz has been
                                  replaced to correct the PDF size and to remove illegible PDF headers.
                                  The corrected document is now attached to 36 and this entry. (sjl)
                                  (Entered: 04/28/2025)
          41     04/28/2025       ORDER granting 37 MOTION for Admission Pro Hac Vice of Shezza
                                  Abboushi Dallal. Signed by District Judge Geoffrey W. Crawford on
                                  4/28/2025. (This is a text-only Order.) (jal) (Entered: 04/28/2025)
          42     04/28/2025       RESPONSE in Opposition re 19 MOTION for Release Under Mapp v.
                                  Reno filed by Donald J. Trump, Patricia Hyde, J Doe, Todd Lyons,
                                  Kristi Noem, Marco A. Rubio, Pamela Bondi. (Attachments: # 1 Exhibit
                                  A, # 2 Exhibit B, # 3 Exhibit C)(Drescher, Michael) (Entered:
                                  04/28/2025)
          43     04/28/2025       ORDER granting 36 MOTION for Admission Pro Hac Vice of Nathan
                                  Freed Wessler, Brett Max Kaufman, Brian Hauss, Esha Bhandari, Noor
                                  Zafar and Sidra Mahfooz. Signed by District Judge Geoffrey W.
                                  Crawford on 4/28/2025. (This is a text-only Order.) (jal) (Entered:
                                  04/28/2025)
          44     04/28/2025       NOTICE OF DOCKET ENTRY CORRECTION re: 23 MOTION for
                                  Leave to File an Amicus Curiae Brief. Appendix I has been replaced
                                  with an amended version to revise a footnote. The revised document is
                                  now attached to 23 and this entry. (sjl) (Entered: 04/28/2025)
          45     04/29/2025       REPLY to Response to 19 MOTION for Release Under Mapp v. Reno
                                  filed by Mohsen Mahdawi. (Attachments: # 1 Exhibit 2 (redacted), # 2
                                  Exhibit 3 (redacted), # 3 Exhibit 4, # 4 Exhibit 5) (Allard, Monica)
                                  Modified on 4/29/2025 to clarify attachments (sjl). (Additional
                                  attachment(s) added on 4/29/2025: # 5 Exhibit 2 (filed under seal), # 6
                                  Exhibit 3 (filed under seal)) (sjl). (Additional attachment(s) added: # 7
                                  Main Document (redacted) and Attachments 1 and 2 replaced and
                                  clarified on 5/22/2025) (sjl). (Entered: 04/29/2025)
          46     04/29/2025       SUPPLEMENTAL DOCUMENT(S) Exhibit 1 re: 45 REPLY to
                                  Response to 19 MOTION for Release Under Mapp v. Reno by Mohsen
                                  Mahdawi. (Allard, Monica) Modified on 4/29/2025 to clarify event/text
                                  (sjl). (Entered: 04/29/2025)
          47     04/29/2025       UNOPPOSED MOTION to File Under Seal Exhibits 2 & 3 re: 45
                                  REPLY to Response to 19 MOTION for Release Under Mapp v. Reno
                                  filed by Mohsen Mahdawi(Ernst, Lia) Modified on 4/29/2025 to clarify
                                  text (sjl). (Entered: 04/29/2025)
          48     04/29/2025       NOTICE OF DOCKET ENTRY CORRECTION re: 45 REPLY to
                                  Response to 19 MOTION for Release Under Mapp v. Reno. Unredacted
                                  copies of Exhibits 2 and 3 having been received are now attached to 45
                                  under seal. (sjl) (Entered: 04/29/2025)
          49     04/29/2025       ORDER: re 45 REPLY to Response to 19 MOTION for Release Under
                                  Mapp v. Reno; The court requests that the Government produce FBI SA
                                  Marc Emmons at the court hearing on 4/30/25 to provide testimony
                                  concerning his investigation of Mr. Mahdawi in 2015. Signed by District
                                  Judge Geoffrey W. Crawford on 4/29/2025. (This is a text-only
                                  Order.)(jal) (Entered: 04/29/2025)
          50     04/29/2025       ORDER granting 47 MOTION to File Under Seal Exhibits 2 & 3 re: 45
                                  REPLY to Response to 19 MOTION for Release Under Mapp v. Reno.
                                  Signed by District Judge Geoffrey W. Crawford on 4/29/2025. (This is a
                                  text-only Order.) (jal) (Entered: 04/29/2025)
          51     04/29/2025       NOTICE of Supplemental Authority by Mohsen Mahdawi re 19
                                  MOTION for Release Under Mapp v. Reno (Attachments: # 1 Khalil v.
                                  Joyce, # 2 American Association JA      589 Professors v. Rubio)
                                                                       of University
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          #      Date             Proceeding Text                                                            Source
                                  (Ernst, Lia) (Attachments 1 and 2 replaced and text clarified on
                                  4/30/2025) (sjl). (Entered: 04/29/2025)
          52     04/30/2025       NOTICE OF DOCKET ENTRY CORRECTION re: 51 Notice of
                                  Supplemental Authority. Attachments 1 and 2 have been replaced to
                                  remove illegible PDF headers. The corrected documents are now
                                  attached to 51 and this entry. (Attachments: # 1 American Association of
                                  University Professors v. Rubio) (sjl) (Entered: 04/30/2025)
          53     04/30/2025       MINUTE ENTRY for proceedings held before District Judge Geoffrey
                                  W. Crawford: Motion Hearing held on 4/30/2025 re 19 MOTION for
                                  Release Under Mapp v. Reno. Attorneys D. Isaacson, L. Droubi, M.
                                  Melewski, A. Delaney, and S. Dallal present with petitioner. M.
                                  Drescher, AUSA present on behalf of respondents. Court makes inquiries
                                  and counsel make statements re: court's receipt of ex-parte
                                  communications re: case, potential testimony of FBI S/A Marc Emmons
                                  (retired), Windsor Police Department report, and closing of FBI file re:
                                  Petitioner. Court makes findings. ORDERED: Parties defer to the court's
                                  discretion to not disclose ex-parte communications. The court's review
                                  and parties statements about the Windsor Police Department report and
                                  closing of FBI file obviates the need for S/A Emmons to testify.
                                  Respondent makes Oral Motion to Stay Release for 7 Days if the court
                                  sets conditions of release. Court makes inquiries and counsel make
                                  statements re: 19 MOTION for Release Under Mapp v. Reno. Court
                                  makes findings. ORDERED: 19 MOTION for Release Under Mapp v.
                                  Reno is granted. Respondents Oral Motion to Stay Release for 7 Days is
                                  denied. Petitioner to be released immediately. Court to issue written
                                  findings. (Court Reporter: Johanna Masse) (eh) (Entered: 04/30/2025)
          54     04/30/2025       OPINION AND ORDER granting 19 MOTION for Release Under Mapp
                                  v. Reno. Signed by District Judge Geoffrey W. Crawford on 4/30/2025.
                                  (sjl) (Entered: 04/30/2025)
          55     04/30/2025       NOTICE OF APPEAL as to 34 Order Extending Temporary Restraining
                                  Order, 54 Opinion and Order on Motion for Release by Donald J. Trump,
                                  Patricia Hyde, J Doe, Todd Lyons, Kristi Noem, Marco A. Rubio,
                                  Pamela Bondi. (Drescher, Michael) Text clarified on 4/30/2025 (law).
                                  (Entered: 04/30/2025)
          56     05/02/2025       ORDER: The court suspends the briefing schedule on the Governments
                                  motion to dismiss until the Court of Appeals rules on the interlocutory
                                  appeal. The court will set a new briefing schedule as necessary after
                                  consulting with counsel. Signed by District Judge Geoffrey W. Crawford
                                  on 5/2/2025. (This is a text-only Order.) (jal) (Entered: 05/02/2025)
          57     05/02/2025       TRANSCRIPT of Motion for Release Under Mapp V. Reno held on
                                  4/30/2025 before Judge Geoffrey W. Crawford as to 55 Notice of
                                  Appeal. Court Reporter/Transcriber Johanna Masse, telephone number
                                  (802) 951-8102. Transcript may be viewed at the court public terminal or
                                  purchased through the Court Reporter/Transcriber before the deadline for
                                  Release of Transcript Restriction. After that date it may be obtained
                                  through PACER Redaction Request due 5/27/2025. Redacted Transcript
                                  Deadline set for 6/5/2025. Release of Transcript Restriction set for
                                  8/4/2025. (eh) (Entered: 05/02/2025)
          58     05/02/2025       TRANSMITTED Index on Appeal, Circuit No. 25-1113, re: 55 Notice of
                                  Appeal, (Attachments: # 1 Docket Sheet (public), # 2 Docket Sheet
                                  (sealed), # 3 Clerk's Certification)(kac) (Entered: 05/02/2025)
          59     05/02/2025       ORDER of USCA, Circuit No. 25-1113, as to 55 Notice of Appeal;
                                  motion for a stay pending appeal is referred to the three-judge motions
                                  panel hearing the Ozturk motion sitting May 6, 2025. (kac) (Entered:
                                  05/02/2025)
          60     05/08/2025       ORDER on Lifting of Rule 5.2(c) Restrictions. The court has received
                                  media requests to modify the Federal Rule of Civil Procedure 5.2(c)
                                  restrictions on the docket in the above-captioned matter to allow

                                                               JA 590
                                  nonparties to access case filings remotely through PACER. The court
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          #      Date             Proceeding Text                                                               Source
                                  hereby ORDERS any party who wishes to object to this request to file an
                                  objection on or before May 14, 2025. Signed by District Judge Geoffrey
                                  W. Crawford on 5/8/2025. (sjl) (Entered: 05/08/2025)
          61     05/09/2025       ORDER of USCA, Circuit No. 25-1113, as to 55 Notice of Appeal:
                                  govt's motion for a stay of the district court's release order and extended
                                  TRO is DENIED; govt's request for a writ of mandamus is also
                                  DENIED. (kac) (Entered: 05/09/2025)
          62     05/12/2025       ORDER: The court requests the parties to confer and submit a proposed
                                  briefing schedule within fifteen (15) days for the motion to dismiss as
                                  well as an outline of how they intend to prepare for a merits hearing.
                                  Signed by District Judge Geoffrey W. Crawford on 5/12/2025. (jal)
                                  (Entered: 05/12/2025)
          63     05/12/2025       MOTION for Further Order re 54 OPINION AND ORDER granting 19
                                  MOTION for Release Under Mapp v. Reno filed by Mohsen Mahdawi
                                  (Ernst, Lia) Modified on 5/13/2025 to clarify text (sjl). (Entered:
                                  05/12/2025)
          64     05/13/2025       RESPONSE to 63 MOTION for Further Order re 54 OPINION AND
                                  ORDER granting 19 MOTION for Release Under Mapp v. Reno filed
                                  by Donald J. Trump, Patricia Hyde, Todd Lyons, Kristi Noem, Marco A.
                                  Rubio, Pamela Bondi. (Drescher, Michael) (Entered: 05/13/2025)
          65     05/14/2025       SUPPLEMENTAL ORDER ON CONDITIONS OF RELEASE granting
                                  63 MOTION for Further Order re 54 OPINION AND ORDER granting
                                  19 MOTION for Release Under Mapp v. Reno. Signed by District Judge
                                  Geoffrey W. Crawford on 5/14/2025. (sjl) (Entered: 05/14/2025)
          66     05/14/2025       RESPONSE re 60 Order, by Mohsen Mahdawi. (Ernst, Lia) (Entered:
                                  05/14/2025)
          67     05/19/2025       UNOPPOSED MOTION for Leave to Refile 45 REPLY to Response to
                                  19 MOTION for Release Under Mapp v. Reno and Certain Exhibits filed
                                  by Mohsen Mahdawi (Attachments: # 1 Exhibit 1 (Redacted), # 2
                                  Exhibit 2 (Redacted), # 3 Exhibit 3 (Redacted)) (Delaney, Andrew)
                                  Modified on 5/19/2025 to clarify text/attachments and Attachment 2
                                  replaced) (sjl). (Attachment 2 replaced on 5/22/2025) (sjl). (Entered:
                                  05/19/2025)
          68     05/19/2025       NOTICE OF DOCKET ENTRY CORRECTION re: 67 UNOPPOSED
                                  MOTION for Leave to Refile 45 REPLY to Response to 19 MOTION
                                  for Release Under Mapp v. Reno and Certain Exhibits. Exhibit 2 has
                                  been replaced to correct a page size and PDF headers. The corrected
                                  document is now attached to 67 and this entry. (sjl) (Main Document 68
                                  replaced on 5/22/2025) (sjl). (Entered: 05/19/2025)
          69     05/20/2025       ORDER granting 67 MOTION for Leave to Re-File 45 REPLY to
                                  Response to 19 MOTION for Release Under Mapp v. Reno and Certain
                                  Exhibits. Signed by District Judge Geoffrey W. Crawford on 5/20/2024.
                                  (This is a text-only Order.) (jal) (Entered: 05/20/2025)
          70     05/21/2025       ORDER: re 62 ORDER: The parties have conferred and are in agreement
                                  that the Petitioners Opposition to Defendants Motion to Dismiss 25 is
                                  due June 4, 2025, with the reply due June 11, 2025. An outline of
                                  preparations for the merits hearing will be submitted no later than May
                                  27, 2025. Signed by District Judge Geoffrey W. Crawford on 5/20/2025.
                                  (This is a text-only Order.) (jal) (Entered: 05/21/2025)
          71     05/22/2025       NOTICE OF DOCKET ENTRY CORRECTION re: 45 REPLY to
                                  Response, 67 UNOPPOSED MOTION for Leave to Refile, and 68
                                  NOTICE OF DOCKET ENTRY CORRECTION. A redacted Main
                                  Document has been uploaded to Doc. 45 and the original Main
                                  Document is now sealed, and Exhibits 2 and 3 for Doc. 45 have been
                                  replaced with redacted versions pursuant to Doc. 69 (TOO) and are all
                                  attached to 45 and this entry. A revised redacted Exhibit 2 for 67 is now
                                  attached to 67 , 68 , and this entry. (Attachments: # 1 Exhibit 2 (Doc. 45-
                                  1) (redacted), # 2 Exhibit 3 (Doc. 45-2) (redacted), # 3 Exhibit 2 (Docs.
                                                                JA 591
                                  67-2 and 68) (redacted)) (sjl) (Entered: 05/22/2025)
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          #        Date             Proceeding Text                                                                 Source
          72       05/22/2025       UNOPPOSED MOTION for Appearance Pro Hac Vice of Michael Tan
                                    (Filing fee $ 150 receipt number AVTDC-2079522) filed by Mohsen
                                    Mahdawi (Attachments: # 1 Affidavit of Michael Tan, # 2 Certificate of
                                    Good Standing) (Ernst, Lia) Modified on 5/22/2025 to clarify
                                    text/attachment (sjl). (Entered: 05/22/2025)
          73       05/23/2025       ORDER: re 71 Notice of Docket Entry Correction (PDF): The court
                                    grants the request to modify the restrictions on the docket following
                                    redaction of portions of petitioner's filing relating to personal health. The
                                    docket and filings in the case are open to the public. Signed by District
                                    Judge Geoffrey W. Crawford on 5/21/2025. (This is a text-only
                                    Order.)(jal) (Entered: 05/23/2025)
          74       05/23/2025       ORDER granting 72 MOTION for Admission Pro Hac Vice of Michael
                                    Tan. Signed by District Judge Geoffrey W. Crawford on 5/23/2025.
                                    (This is a text-only Order.) (jal) (Entered: 05/23/2025)
          75       06/04/2025       RESPONSE in Opposition re 25 MEMORANDUM filed by Mohsen
                                    Mahdawi. (Delaney, Andrew) (Entered: 06/04/2025)
          76       06/05/2025       ORDER: re 25 MEMORANDUM -- The court suspends briefing on the
                                    motion to dismiss until the Court of Appeals concludes its en banc
                                    proceedings. At that time, the court will set a date for the Governments
                                    reply and set a hearing date. Signed by District Judge Geoffrey W.
                                    Crawford on 6/5/2025. (This is a text-only Order.)(jal) (Entered:
                                    06/05/2025)
          77       06/11/2025       MOTION for Limited Discovery filed by Mohsen Mahdawi
                                    (Attachments: # 1 Exhibit 1, # 2 Exhibit 2 # 3 Exhibit 3, # 4 Exhibit 4 #
                                    5 Exhibit 5) (Delaney, Andrew) Modified on 6/12/2025 to clarify
                                    text/attachments (sjl). (Entered: 06/11/2025)
          78       06/25/2025       RESPONSE in Opposition re 77 MOTION for Limited Discovery filed
                                    by Donald J. Trump, Patricia Hyde, J Doe, Todd Lyons, Kristi Noem,
                                    Marco A. Rubio, Pamela Bondi. (Drescher, Michael) (Entered:
                                    06/25/2025)

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